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 7                                UNITED STATES DISTRICT COURT
                                 WESTERN DISTRICT OF WASHINGTON
 8                                         AT SEATTLE
 9    UNITED STATES OF AMERICA,
10                  Plaintiff,
11                                                          Case No. CR04-251L
             v.
12
                                                            ORDER CONTINUING TRIAL DATE
      KENNETH STONE, DEBRA STONE,
13
      CASEY CREEDON, and GEORGE
      CORRELL,
14                  Defendants.
15

16          This matter comes before the Court on the motion to continue trial date raised by counsel

17   for defendants Kenneth Stone, Debra Stone, Casey Creedon, and George Correll (collectively,

18   “Defendants”) at the April 22, 2005 status conference. Based on the records and files herein and

19   the representations of defense counsel, the government, and Defendants at the April 22, 2005

20   status conference, the Court finds that:

21          1.     The trial in this matter is scheduled for April 25, 2005;

22          2.     Between March 18 and 21, 2005, Defendants filed motions to suppress evidence

23   (Dkt. #s 100, 102, & 106), and an evidentiary hearing on those motions has been scheduled for

24   June 1, 2005 (Dkt. # 114);

25          3.     Counsel for Defendants have informed the Court that they will require time to

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 1   prepare for trial once the Court rules on the suppression motions. Taking into account the
 2   exercise of due diligence, counsel for Defendants have requested that the date of trial be
 3   extended to September 12, 2005 to allow for such preparation;
 4          4.     After having conferred with their respective counsel, the Defendants each
 5   represented to the Court that they understood the reasons for the continuance and stipulated to
 6   the need for a continuance of the trial until September 12, 2005;
 7          5.     The government consents to the continuance; and
 8          6.     The ends of justice outweigh the best interests of the public and the defendant in a
 9   speedy trial. Failure to grant a continuance would deny counsel for Defendants adequate time to
10   effectively prepare for trial once the suppression motions have been resolved. Further,
11   rescheduling the trial for September 12, 2005 ensures that Defendants will be able to maintain
12   continuity of counsel throughout the course of their defense.
13          For all the foregoing reasons, IT IS HEREBY ORDERED that the trial date is continued
14   from April 25, 2005 to September 12, 2005.
15          IT IS FURTHER ORDERED that pursuant to Title 18, United States Code, Section
16   3161(h), the period of time from the date of this order to the new trial date is excluded in the
17   computation of time under the Speedy Trial Act.
18

19          DATED this 22nd day of April, 2005.
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22                                                     A
                                                       Robert S. Lasnik
23                                                     United States District Judge
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27    ORDER CONTINUING TRIAL
      DATE                                            2
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